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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  Southern Division

HABIB GHARIB,                                         *

       Plaintiff,                                     *

                                                      *       Case No.: No. 8:17-cv-03476-GJH
v.
                                                      *
THE JOURNAL OF THE COMMITTEE
ON THE POLITICAL ECONOMY OF                           *
THE GOOD SOCIETY, et al.,                             *

       Defendants.                   *
*      *     *     *   *   *     *   *     *    *   *    *    *                                       *
       PLAINTIFF’S MOTION AND APPLICATION FOR ENTRY OF DEFAULT
                              JUDGMENT

       Plaintiff Habib Gharib (“Plaintiff”) , by and through his attorneys, John J. Leppler, Esq.

#19736, and the law firm Bowers Law, LLC, pursuant to Fed R. Civ. P. 55(b), federal law, and

this Court’s local rules, hereby submits Plaintiff’s motion and application for entry of default

judgment pursuant. In support of this motion for entry of default, Plaintiff relies upon the record

in this case, which includes but is not limited to the attached affidavit in support of this motion

and application for entry of default judgment, and the attached affidavit of Plaintiff.

       Plaintiff respectfully requests for this Honorable Court to order and enter a default

judgment against the Defendant the Journal of the Committee on the Political Economy of the

Good Society (“Defendant Journal”) in the amount of Four-Hundred Forty-One Thousand

Dollars ($441,000). Should the Court not grant Plaintiff’s requested relief sought in this motion

for entry of default judgment, Plaintiff respectfully requests for the Court to order and schedule a

hearing on this motion pursuant to Fed. R. Civ. P. 55(b), federal law, and this Court’s local rules.


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                                                   Respectfully Submitted,

                                                   /s/ John Leppler
                                                   ______________________________
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                                                   339 E. 25th Street
                                                   Baltimore, Maryland 21218
                                                   T: (410) 885-6200
                                                   E: john@bowerslawmd.com
                                                   Counsel for the Plaintiff Habib Gharib


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 21st day of November 2019, a copy of the foregoing
Plaintiff’s motion and application for entry of default judgment was sent via the Court’s ECF
system and served upon the following:

Alexander C. Hortis, Esq.
Assistant Attorney General
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Gary.eidelman@saul.com
Kimberly.crampton@saul.com (paralegal)
Counsel for the Defendant Pennsylvania State University

And sent via first class mail, postage prepaid on November 25, 2019 to:

Trygve Throntveit
The Good Society: A Journal of Civil Studies
The University of Minnesota
178 Pillsbury Drive SE
Room 103A BuH
Representative of Defendant Journal of the Committee of the Political Economy of the Good
Society



                                                   Respectfully submitted,

                                                   /s/ John Leppler
                                                   _____________________________
                                                   John J. Leppler, Esq. #19736




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